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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA


           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MONTANA
                    MISSOULA DIVISION

UNITED STATES OF                         CR 18-17-M-DLC
AMERICA,

            Plaintiff,                   OFFER OF PROOF

     vs.

ROBERTO CRUZ SISNEROS
aka Roberto Cruz Cisneros,

            Defendant.

     Defendant Roberto Cruz Sisneros has signed a plea agreement

pursuant to Rule 11(c)(1)(B) which contemplates his plea of guilty to the


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indictment which charges illegal reentry, in violation of 8 U.S.C.

§ 1326(a) and (b). The defendant’s plea of guilty will be unconditional.

     The United States presented any and all formal plea offers to the

defendant in writing. The plea agreement entered into by the parties

and filed with the court represents, in the government's view, the most

favorable offer extended to the defendant. See Missouri v. Frye, 132

S.Ct. 1399 (2012).

     ELEMENTS. In order to prove illegal reentry, in violation of 8

U.S.C. § 1326(a) and (b), against the defendant at trial, the United

States would have to prove the following elements beyond a reasonable

doubt:

     First, the defendant was deported from the United States;

     Second, thereafter, the defendant voluntarily entered the United

States;

     Third, at the time of entry the defendant knew he was entering the

United States;

     Fourth, the defendant was found in the United States without

having obtained the consent of the Attorney General or the Secretary of


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the Department of Homeland Security to reapply for admission into the

United States;

     Fifth, the defendant was an alien at the time of the defendant’s

entry into the United States; and

     Sixth, the defendant was free from official restraint at the time he

was found in the United States.

     PROOF. If called upon to prove this case at trial, and to provide a

factual basis for the defendant’s plea, the United States would present,

by way of the testimony of law enforcement officers, lay and expert

witnesses, and physical evidence, the following:

     On March 21, 2018, DHS Homeland Security Investigations agents

located and arrested the defendant at his residence in Hamilton,

Montana. Based on his file, HSI agents determined that the defendant

entered the United States without authority and was arrested in Utah

in 1994. In 1996, he was deported. The defendant was located in the

United States again in 1998. After being convicted of reentry of a

deported alien, he was deported in 1999 to Mexico.




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     Immediately after his arrest in Hamilton, the defendant was

interviewed. He confirmed his true identity and birth date, and stated

he was born in Mexico. The defendant admitted that he entered the

United States from Mexico without authority in approximately 1989,

and was removed from the United States. The defendant said that after

his removal, he reentered the United States without inspection by an

immigration official approximately two months later. The defendant

was encountered by immigration officials and convicted of reentry of a

deported alien. After serving a term of imprisonment, the defendant

was again deported from the United States. Then, in approximately

2011, he reentered the United States illegally through Arizona. The

defendant acknowledged that he was not admitted to the United States

by an immigration official.

     After the interview, the defendant’s fingerprints were compared to

the fingerprints in his alien file and his identity and statements

regarding his deportation were confirmed. There is no indication that

the defendant ever applied for or obtained the permission of the United




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States Attorney General or his successor, the Secretary of the

Department of Homeland Security to reenter the United States.

     DATED this 16th day of May, 2018.

                                  KURT G. ALME
                                  United States Attorney


                                  /s/ Cyndee L. Peterson
                                  Assistant U.S. Attorney
                                  Attorney for Plaintiff




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                       CERTIFICATE OF SERVICE

     I hereby certify that on May 16, 2018, a copy of the foregoing

document was served on the following persons by the following means:

     (1)           CM/ECF
     ()            Hand Delivery
     ()            U.S. Mail
     ()            Overnight Delivery Service
     ()            Fax
     ()            E-Mail

     1)      Andrew J. Nelson
             Attorney for defendant Cruz


                                    /s/ Cyndee L. Peterson
                                    Assistant U.S. Attorney
                                    Attorney for Plaintiff




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